Case 2:19-cv-00272-RBS-RJK Document 1-1 Filed 05/23/19 Page 1 of 4 PagelD# 4

 

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VN = if
APR 2 6 2019
Civil Division
150 ST. PAUL'S BLVD 7TH FLOOR
NORFOLK VA 23510
(757) 769-8539
Summons
To: WAWA, INC Case No. 710CL19003339-00

MEADE SPOTTS, RA FOR WAWA INC
411 EFRANKLIN ST, STE. 600
RICHMOND VA 23219

The party upon whom this summons and the attached complaint are served is hereby notified
that unless within 21 days after such service, response is made by filing in the clerk’s office
of this court a pleading in writing, in proper legal form, the allegations and charges may be
taken as admitted and the court may enter an order, judgment, or decree against such party
either by default or after hearing evidence.

Appearance in person is not required by this summons.
Done in the name of the Commonwealth of Virginia on,Monday, April 08, 2019

Clerk of Court: GEORGE E. SCHAEFER III

by | APO
/ (Cli

  

YL?
DEP { CLERK }

Instructions:

Hearing Official:

Att ; . ST CLAIR, JAMES P
oreys name; 757-498-7700

EXHIBIT

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Case 2:19-cv-00272-RBS-RJK Document 1-1 Filed 05/23/19 Page 2 of 4 PagelD# 5

Norris &
St. Cratr, P.C.

ATVONNEYS AT LAW

2840 S_ Lynnhaven Road
Virginia Beach, VA 29452-6715
Telephone 757 498,7700
Facsimile 757 498.7744

 

 

VIRGINIA: IN THE CIRCUIT COURT FOR THE CITY OF NORFOLK
DIANA LEE GIBSON,

Plaintiff, 4-445 ‘]
Vv. Case No.: CL19-_
WAWA, INC,
SERVE: Meade Spotts, Registered Agent for Wawa, Inc.

411 E. Franklin Street, Suite 600

Richmond, VA 23219

Defendants.

COMPLAINT

NOW COMES the Plaintiff, Diana Lee Gibson, by counsel, and hereby moves this
Honorable Court, for judgment against the Defendant, in the sum of FFWE HUNDRED
THOUSDAND DOLLARS ($500,000.00) for this, to-wit:

1. Defendant, Wawa, Inc. is a corporation organized under the laws of the State
of New Jersey and registered to do business in the Commonwealth of Virginia; upon
information and belief, at all times relevant it owned, operated and maintained a retai!
convenience store Wawa #8645 where it sold merchandise to the public at 1146 N. Military
Highway, Norfolk, Virginia 23502.

2. As the owner and operator of said store and business, a place of business
to which the general public was invited, Defendant, and its agents and employees had a duty
to maintain the premises in a reasonably safe condition; to make reasonable inspections to
determine whether any unsafe conditions existed; and to warn the public of any such unsafe
conditions about which it, its agents and employees knew or should have known,

3, Notwithstanding all of the said duties, the Defendant and its agents

and employees, negligently maintained the premises in an unreasonably safe condition,

 
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negligently failed to make inspections to determine whether unsafe conditions existed,
negligently failed to warn the public of any such unsafe conditions about which it or its
agents or employees knew or should have known, all in a portion of the store in an area in
which patrons of the store customarily shopped.

4. On or about September 7, 2017, the Plaintiff was a customer in Defendant’s
store and was walking to the register to buy merchandise when she slipped and fell on the wet
floor causing her severe, painful, and permanent injuries.

Ba As a further direct and proximate result of the Defendant’s negligence, as
aforesaid, the plaintiff was caused to suffer severe pain and mental anguish and will continue
to suffer severe pain and mental anguish for an indeterminable period of time in the future.

6. As a further direct and proximate result of the Defendant’s negligence, as

| aforesaid, the plaintiff has been caused to expend and will in the future be caused to expend, a

substantial sum of money for an indeterminable period of time in an endeavor to be healed
and cured of her injuries.

7. As a further direct and proximate result of the Defendant’s negligence, as
aforesaid, the plaintiff has been unable to work and will be unable to work for an
indeterminable time in the future.

WHEREFORE, the plaintiff, Diana Lee Gibson, moves this Honorable Court for
judgment against the Defendant, Wawa, Inc. in the sum of FWE HUNDRED THOUSDAND
DOLLARS ($500,000.00), plus costs and interest from September 7, 2017.

TRIAL BY JURY IS DEMANDED.

DIANA LEE GIBSON

 

 
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